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 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
      ANGELA HARRIS,                                    Case No. 1:20-cv-01158-NONE-EPG
11
                     Plaintiff,
12                                                      ORDER RE: NOTICE OF VOLUNTARY
             v.                                         DISMISSAL AS TO EQUIFAX
13                                                      INFORMATION SERVICES, LLC
      CONCORD SERVICING CORPORATION,
14    et al.,
                                                        (ECF No. 22)
15                   Defendants.

16
             On January 4, 2021, Plaintiff Angela Harris filed a notice of voluntary dismissal of
17
      defendant Equifax Information Services, LLC with prejudice. (ECF No. 22.) Defendant
18
      Equifax Information Services, LLC has not filed either an answer or a motion for summary
19 judgment. Accordingly, in light of the notice, the case against Equifax Information Services,
20 LLC has ended and Equifax Information Services, LLC is dismissed with prejudice. See Fed.

21 R. Civ. P. 41(a)(1)(A); Wilson v. City of San Jose, 111 F.3d 688, 692 (9th Cir. 1997). As all

22 defendants have now been dismissed, the Clerk of the Court is respectfully directed to assign a

23 district judge to this case for the purpose of closing the case and then to close this case.

24
     IT IS SO ORDERED.
25

26      Dated:    January 6, 2021                             /s/
                                                      UNITED STATES MAGISTRATE JUDGE
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